       Case 4:18-cv-00342-KGB Document 212-15 Filed 12/20/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DONNA CAVE, JUDITH LANSKY,                                                        PLAINTIFFS
PAT PIAZZA, and SUSAN RUSSELL

ANNE ORSI, AMERICAN HUMANIST                                 CONSOLIDATED PLAINTIFFS
ASSOCIATION, FREEDOM FROM
RELIGION FOUNDATION, INC.,
ARKANSAS SOCIETY OF FREETHINKERS,
JOAN DIETZ, GALE STEWART, RABBI
EUGENE LEVY, REV. VICTOR H. NIXON,
TERESA GRIDER, and WALTER RIDDICK

THE SATANIC TEMPLE, DOUG MISICKO                                              INTERVENORS
aka “LUCIEN GREAVES,” and ERIKA
ROBBINS

v.                              No. 4:18CV00342 KGB/BD

JOHN THURSTON, Arkansas Secretary of State,
in his official capacity                                                         DEFENDANT

                      DEFENDANT’S SUPPLEMENTAL REQUESTS
                        FOR PRODUCTION TO INTERVENORS

       Defendant, Secretary of State John Thurston, in his official capacity, through counsel,

pursuant to the Court’s Orders and rulings dated March 1 and 11, 2020 (DE 116 at 22, 23; see

DE 118), and October 22, 2021 (DE 172 at 33-34), propounds the following supplemental

requests for production to Intervenors to be answered in the time and manner prescribed by the

Federal Rules of Civil Procedure.

       REQUEST FOR PRODUCTION NO. 1. Please produce a copy of the state and federal

tax returns for the United Federation of Churches, LLC, for each of the years 2015, 2016, 2017,

and 2018.

       REQUEST FOR PRODUCTION NO. 2. Please produce a copy of the state and federal

tax returns for Reason Alliance, Ltd., for each of the years 2015, 2016, 2017, and 2018.



                                                                                           Def.'s Ex. 15
       Case 4:18-cv-00342-KGB Document 212-15 Filed 12/20/21 Page 2 of 3




       REQUEST FOR PRODUCTION NO. 3. Please produce a copy of the state and federal

tax returns for the Satanic Temple, Inc., for each of the years 2015, 2016, 2017, and 2018.

       REQUEST FOR PRODUCTION NO. 4. Please produce a copy of the state and federal

tax returns for Cinephobia, LLC, for each of the years 2015, 2016, 2017, and 2018.

                                             Respectfully submitted,

                                             LESLIE RUTLEDGE
                                             Attorney General

                                             /s/ Michael A. Cantrell
                                             Michael A. Cantrell (2012287)
                                             Dylan L. Jacobs (2016167)
                                               Assistant Solicitors General
                                             OFFICE OF THE ARKANSAS ATTORNEY GENERAL
                                             323 Center Street, Suite 200
                                             Little Rock, AR 72201
                                             (501) 682-2007
                                             Michael.Cantrell@ArkansasAG.gov

                                             Hiram Sasser
                                             Michael Berry
                                             Lea Patterson
                                             FIRST LIBERTY INSTITUTE
                                             2001 West Plano Parkway, Suite 1600
                                             Plano, TX 75075
                                             Tel: (972) 941-6162
                                             Fax: (972) 423-6162
                                             hsasser@firstliberty.org
                                             mberry@firstliberty.org
                                             lepatterson@firstliberty.org

                                             Attorneys for Secretary of State John Thurston




                                                                                         Def.'s Ex. 15
       Case 4:18-cv-00342-KGB Document 212-15 Filed 12/20/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

        I, Michael A. Cantrell, certify that on November 2, 2021, I served the foregoing by email
to the following:

Andrew G. Schultz, aschultz@rodey.com
John L. Burnett, jburnett@laveyandburnett.com
Joshua D. Gillispie, josh@greenandgillispie.com
Melanie B. Stambaugh, mstambaugh@rodey.com

Attorney for Plaintiffs


James Gerard Schulze, gerrysch@b-s-m-law.com
Monica L. Miller, mmiller@americanhumanist.org
Patrick C. Elliott, patrick@ffrf.org

Attorney for Consolidated Plaintiffs


Matthew A. Kezhaya, matt@kezhaya.law
Stuart P. De Haan, stu.dehaan@gmail.com

Attorney for Intervenors

                                            /s/ Michael A. Cantrell
                                            Michael A. Cantrell




                                                                                       Def.'s Ex. 15
